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                                 ID #:33167




                 EXHIBIT 76
                            Part 1 of 2
Case 2:10-cv-03633-ODW-RZ                 Document 500-13          Filed 10/10/12        Page 2 of 34 Page
                                               ID #:33168



STIEUIER                  IE S C 0 V A 1'1:                                                  Alfred L. Steuer (1892-1967)
                                                                                           Richard B. Steuer (1925-2007)
A Legal Professional Association                                                                      Thomas J. Escovar
Establlfhed 1918                                                                                          Gerald A. Berk
        September 19,212                                                                                William D. Brown
                                                                                                 L. Christopher Coleman

        Via E-Mail                                                                                     Patrick P. Merrick
                                                                                                         Patrick J. Ebner
                                                                                                           Eric W. Henry
        Jason Tokoro
        O'Melveny and Myers LLP
        1999 Avenue of the Stars, 7th Floor
        Los Angeles, CA 90067

        Re:        DC Comics v. Pacific Pictures Corp., eta!., Case No. 10-CV-03633 ODW (RZx)

        Dear Mr. Tokoro:

        Enclosed please find a production on behalf of the Estate of Michael Siegel (the '"Estate"), Bates-
        labeled EOMS 00676-00680.

        In reviewing the Estate's prior productions, it was noticed that the Bates ranges in the May 4
        (EOMS 151-182), June 28 (EOMS 183-216), July 26 (EOMS 217), and August 13, 2012 (EOMS
        218-220) productions inadvertently overlapped with the Bates range in the November 29,2011
        (EOMS 1-605) production. To avoid any confi1sion, the Estate is producing the documents
        originally produced on May 4, June 28, .July 26, and August 13, 2012 with corrected Bates
        numbers. Enclosed herewith please find an amended production, with conected Bates ranges:

                   Date of Initial Production Pt·ior Bates Ranee    CoJTected Bates Ranee
                   5/4/2012                   EOMS 151-182          EOMS 606-637
                   6/28/2012                  EOMS 183-216          EOMS 638-671
                   7/26/2012                  EOMS 217              EOMS 672
                   8/13/2012                  EOMS 218-220          EOMS 673-675

        Except for the conected bates numbers, these documents are identical to the documents produced
        previously. Please destroy the prior productions.

        Per our August 15, 2012 agreement, the Estate hereby produces the following by designation:
        DB 00001-00044 (from the Siegel action); and all prior productions by or on behalf of the Estate
        in this matter and"in the Siegel case (EOMS 00001-00669,00151-00220 (original); EOMS
        00001-00675 (as amended)).

        The Estate hereby incorporates all claims of privilege contained in the privilege log served by the
        Estate on November 29, 2011.



        DlsAAI---
        Gerald A. Berk


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Case 2:10-cv-03633-ODW-RZ                       Document 500-13                         Filed 10/10/12   Page 3 of 34 Page
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                                       Clevefend, OH 44116
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                 For professional services rendered




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           3605 BendemoQt Rd
           Cleveland Heighbs OH <4<4106




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                                 For Period Ending March 31,2001




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Case 2:10-cv-03633-ODW-RZ              Document 500-13               Filed 10/10/12   Page 19 of 34 Page
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                                  For Period Ending April 30, 2003




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                                                           The Keith Building
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        lnvoiCfl submitted lo:
        Mr. Mike Siegel
        3G05 Bendemeer Rd
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   Invoice submitted to:
   Mr. Mike Siegel
   3605 Bendemeer Rd
   Cleveland Helgt\ts OH 44106




                                 For Period Ending July 31 , 2003




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                3605 Bendemeer Rd
                Cleveland Heights OH 44106




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    3605 Bcndemeer Rd
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   3605 Bandam9ar R.d
   Cleveland Helghl$ OH -44106




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                                     CleVeland, OH 44115
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   Mr. Mike Siegel
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   Cleveland Heights OH 44100




                                For Period Ending October 31. 2004




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        Mr. Mike Siegel
        3605 Bendemeer Rd
        Cleveland Helahts OH 44105
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                                                 (216) 621·1113


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      Mr. Mika Siegal
      Jeos Bendemeer Rd
      Clavet~md Height~ OH 4410S




                                   For Period Ending March 31, 2002




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    3605 6endameer Rd
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F~ ll   "Jame          Mr. Mike Siegel
AddrG~>~>              3606 Bendemeer Rd
                       Cle-..eland Heiohts OH 44106
Phone 1                                          PhOne 2
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In   Ret To            L0102; f<ENNER. OTTO. BOISSELLE & SKLAR~- ESTATE OF MICHEAl SIEGEL, CASE NO.
                       CV-07..0208!;6

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   Address              3605 BllndemaBt Rd
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